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        ORDERED in the Southern District of Florida on October 25, 2011.




                                                        Robert A. Mark, Judge
                                                        United States Bankruptcy Court
_____________________________________________________________________________




                              UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION

       In re:

       HARVEY HERNANDEZ,                                           Case No. 10-26989-RAM

                                                                   Chapter 7
                    Debtor.
                                       /
       BANK LEUMI USA,                                               Adv. No.: 11-02428-RAM

                Plaintiff,

       v.

       HARVEY HERNANDEZ,

                Defendant.
       ____________________________________/
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              ORDER ON MOTION TO VACATE ORDER DISMISSING CASE

        THIS MATTER came before the Court for hearing on October 20, 2011 upon the

Motion of plaintiff, Bank Leumi USA (“Plaintiff”), to Vacate Order Dismissing Case and

Reschedule Pretrial Conference (“Motion”) [C.P. # 10]. Upon consideration of the Motion, the

agreement of Plaintiff and defendant, Harvey Hernandez (“Defendant”), as set forth herein, good

cause appearing, and the Court being otherwise fully advised in the premises, it is

        ORDERED as follows:

        1.     The deadline for payment of the Settlement Amount, as defined in the Order

Granting Motion to Approve Compromise and Settlement Between Debtor and Bank Leumi USA

(the “Order Approving Compromise”) [C.P. # 322 in Case No. 10-26989-RAM], is extended as

follows: (1) Defendant shall tender the sum of $30,000 to Plaintiff on or before October 24,

2011; and (2) Defendant shall tender the sum of $120,000 to Plaintiff on or before December 15,

2011.

        2.     In the event that Defendant fails to timely tender any of the payments set forth in

paragraph 1 above, Plaintiff shall, upon submission of a declaration of counsel for Plaintiff as to

the default hereunder and proposed Order, be entitled to the immediate entry of an ex parte

Order vacating the dismissal of this adversary proceeding and rescheduling the pretrial

conference.

        3.     The Court retains jurisdiction to enforce the terms of the Compromise, as defined

in the Order Approving Compromise and modified herein.

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Submitted by:
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Attorney Drobny shall serve a conformed copy of this Order upon receipt of same on all parties
in interest and shall file a Certificate of Service with the Court.




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